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                         EXHIBIT C
Movants' Purchases and Losses     Case 3:15-cv-07658-MAS-LHG Document 22-5 Filed 12/21/15 Page 2 of 3 PageID: 651                                       Valeant Pharmaceuticals

                                                             Shares      Share         Total                    Shares     Share         Total           Total
         Name                                     Date      Purchased    Price         Cost           Date       Sold      Price      Proceeds        Gain (Loss)*
         TIAA-CREF Large-Cap Growth Fund       04/07/2015    11,785     $198.89   $2,343,918.65    10/15/2015   41,761    $164.74   $6,879,707.14
                                               04/08/2015    48,136     $204.67   $9,851,995.12    10/16/2015   28,635    $173.73   $4,974,758.55
                                               04/09/2015    16,480     $207.70   $3,422,896.00    10/21/2015   31,428    $104.25   $3,276,369.00
                                               04/21/2015    36,503     $209.91   $7,662,344.73    10/22/2015   161,016   $109.87   $17,690,827.92
                                               04/23/2015    15,194     $209.55   $3,183,902.70    10/26/2015    4,070    $114.98    $467,968.60
                                               07/27/2015    12,620     $257.01   $3,243,466.20
                                               07/29/2015    42,137     $255.50   $10,766,003.50
                                               08/05/2015    10,694     $261.85   $2,800,223.90
                                               09/08/2015     3,876     $234.32    $908,224.32
                                               10/06/2015    32,976     $166.53   $5,491,493.28
                                               10/09/2015    36,509     $174.01   $6,352,931.09

                                                             266,910              $56,027,399.49                266,910             $33,289,631.21   ($22,737,768.28)

         TIAA-CREF Growth & Income Fund        03/06/2014     200       $144.74     $28,948.00     04/08/2014    900      $118.21    $106,389.00
                                               03/13/2014     200       $142.14     $28,428.00     05/04/2015    400      $223.62    $89,448.00
                                               03/17/2014     200       $140.85     $28,170.00     06/05/2015    200      $232.52    $46,504.00
                                               03/24/2014     300       $136.04     $40,812.00     06/18/2015    200      $230.63    $46,126.00
                                               04/06/2015    59,642     $198.26   $11,824,622.92   06/19/2015    400      $233.17    $93,268.00
                                               04/07/2015    27,197     $199.04   $5,413,290.88    07/02/2015    100      $229.24    $22,924.00
                                               05/07/2015     200       $215.30     $43,060.00     07/15/2015    200      $237.25    $47,450.00
                                               07/29/2015    11,281     $255.32   $2,880,264.92    07/20/2015    300      $237.80    $71,340.00
                                               10/05/2015     100       $174.27     $17,427.00     08/17/2015    400      $244.77    $97,908.00
                                                                                                   08/31/2015    450      $235.01    $105,754.50
                                                                                                   09/28/2015   22,477    $197.16   $4,431,565.32
                                                                                                   10/20/2015   29,525    $154.05   $4,548,326.25
                                                                                                   10/22/2015   43,768    $109.87   $4,808,790.16

                                                             99,320               $20,305,023.72                99,320              $14,515,793.23   ($5,789,230.49)

         TIAA-CREF Life Growth Equity Fund     04/07/2015      299      $198.89    $59,468.11      04/10/2015      15     $207.27     $3,109.05
                                               04/08/2015     1,219     $204.67    $249,492.73     05/11/2015      24     $223.46     $5,363.04
                                               04/09/2015      417      $207.70    $86,610.90      05/22/2015      31     $238.00     $7,378.00
                                               04/21/2015      920      $209.91    $193,117.20     07/02/2015      63     $225.53    $14,208.39
                                               04/23/2015      383      $209.55    $80,257.65      10/15/2015    1,010    $164.74    $166,387.40
                                               07/27/2015      300      $257.01    $77,103.00      10/16/2015     693     $173.73    $120,394.89
                                               07/29/2015     1,020     $255.50    $260,610.00     10/21/2015     761     $104.25    $79,334.25
                                               08/05/2015      258      $261.85    $67,557.30      10/22/2015    3,896    $109.87    $428,053.52
                                               09/08/2015       98      $234.32    $22,963.36      10/26/2015      98     $114.98    $11,268.04
                                               10/06/2015      794      $166.53    $132,224.82
                                               10/09/2015      883      $174.01    $153,650.83

                                                              6,591               $1,383,055.90                  6,591               $835,496.58      ($547,559.32)

         TIAA-CREF Life Growth & Income Fund   03/17/2014       10      $140.85     $1,408.50      04/08/2014      10     $118.21     $1,182.10
                                               04/06/2015     1,840     $198.26    $364,798.40     05/04/2015      10     $223.62     $2,236.20
                                               04/07/2015      839      $199.04    $166,994.56     06/02/2015      10     $239.36     $2,393.60
                                               07/16/2015       20      $237.49     $4,749.80      06/23/2015      10     $234.06     $2,340.60
                                               07/29/2015      368      $255.32    $93,957.76      07/01/2015      10     $225.08     $2,250.80
                                               09/18/2015       10      $238.40     $2,384.00      08/12/2015      20     $243.42     $4,868.40
                                                                                                   09/28/2015     710     $197.16    $139,983.60
                                                                                                   10/20/2015     926     $154.05    $142,650.30
                                                                                                   10/22/2015    1,381    $109.87    $151,730.47

                                                              3,087                $634,293.02                   3,087               $449,636.07      ($184,656.95)
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         TIAA                                                08/01/2014         2,000      $119.81      $239,620.00            06/10/2014      2,000      $125.15     $250,300.00

                                                                                2,000                   $239,620.00                            2,000                  $250,300.00       $10,680.00

         CREF                                                02/28/2014         200        $148.50       $29,700.00            06/18/2014     22,056      $118.69   $2,617,826.64
                                                             03/05/2014        20,579      $144.79     $2,979,633.41           07/24/2014      9,833      $124.33   $1,222,536.89
                                                             03/06/2014        13,477      $143.92     $1,939,609.84           07/24/2014     35,333      $124.33   $4,392,951.89
                                                             03/25/2014         300        $131.90       $39,570.00            07/25/2014      9,797      $123.32   $1,208,166.04
                                                             04/22/2014        35,000      $132.30     $4,630,500.00           07/25/2014     35,203      $123.32   $4,341,233.96
                                                             04/22/2014        28,000      $132.30     $3,704,400.00           07/28/2014      9,870      $123.40   $1,217,958.00
                                                             04/22/2014        60,000      $133.75     $8,025,000.00           07/28/2014     35,464      $123.40   $4,376,257.60
                                                             03/18/2015        15,000      $202.53     $3,037,950.00           04/06/2015       348       $198.56     $69,098.88
                                                             04/06/2015        43,155      $198.26     $8,555,910.30           04/09/2015       298       $205.45     $61,224.10
                                                             04/07/2015        23,246      $198.89     $4,623,396.94           04/15/2015       140       $206.64     $28,929.60
                                                             04/07/2015        3,870       $198.89      $769,704.30            05/04/2015      2,032      $222.77    $452,668.64
                                                             04/07/2015        19,680      $199.04     $3,917,107.20           06/19/2015       563       $230.27    $129,642.01
                                                             04/08/2015        94,938      $204.67     $19,430,960.46          06/19/2015      1,504      $233.20    $350,732.80
                                                             04/08/2015        15,807      $204.67     $3,235,218.69           07/31/2015      4,660      $257.53   $1,200,089.80
                                                             04/09/2015        32,504      $207.70     $6,751,080.80           09/21/2015      3,776      $244.84    $924,515.84
                                                             04/09/2015        5,412       $207.70     $1,124,072.40           09/28/2015     16,721      $197.16   $3,296,712.36
                                                             04/21/2015        72,026      $209.91     $15,118,977.66          09/30/2015      7,918      $178.38   $1,412,412.84
                                                             04/21/2015        11,992      $209.91     $2,517,240.72           10/15/2015     79,270      $164.74   $13,058,939.80
                                                             04/23/2015        29,987      $209.55     $6,283,775.85           10/15/2015     12,959      $164.74   $2,134,865.66
                                                             04/23/2015        4,993       $209.55     $1,046,283.15           10/16/2015     54,352      $173.73   $9,442,572.96
                                                             04/30/2015        29,286      $219.33     $6,423,298.38           10/16/2015      8,885      $173.73   $1,543,591.05
                                                             06/22/2015        4,063       $233.47      $948,588.61            10/20/2015     19,889      $154.05   $3,063,900.45
                                                             06/26/2015        5,000       $228.81     $1,144,050.00           10/21/2015     59,660      $104.25   $6,219,555.00
                                                             07/27/2015        24,467      $257.01     $6,288,263.67           10/21/2015      9,751      $104.25   $1,016,541.75
                                                             07/27/2015        3,965       $257.01     $1,019,044.65           10/22/2015     305,652     $109.87   $33,581,985.24
                                                             07/29/2015        82,393      $255.50     $21,051,411.50          10/22/2015     29,530      $109.87   $3,244,461.10
                                                             07/29/2015        8,305       $255.32     $2,120,432.60           10/22/2015     49,961      $109.87   $5,489,215.07
                                                             07/29/2015        13,338      $255.50     $3,407,859.00           10/26/2015      7,727      $114.98    $888,450.46
                                                             08/05/2015        20,891      $261.85     $5,470,308.35           10/26/2015      1,263      $114.98    $145,219.74
                                                             08/05/2015        3,381       $261.85      $885,314.85               held        44,422      $93.73    $4,163,641.56
                                                             10/06/2015        62,720      $166.53     $10,444,761.60
                                                             10/06/2015        10,237      $166.53     $1,704,767.61
                                                             10/09/2015        69,297      $174.01     $12,058,370.97
                                                             10/09/2015        11,328      $174.01     $1,971,185.28

                                                                               878,837                $172,697,748.79                         878,837               $111,295,897.73   ($61,401,851.06)


         Movants' Total                                                       1,256,745               $251,287,140.92                         1,256,745             $160,636,754.82   ($90,650,386.10)


         *For shares held at the end of the class period, losses are calculated by multiplying the shares held by the average share price
          during the 90 calendar days after the end of the class period. The price used is $93.73 as of December 18, 2015 for common stock.
